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                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


WEBVENTION LLC                                      §
                                                    §
       Plaintiffs,                                  §      Case No. 2:11-cv-225
                                                    §
       v.                                           §
                                                    §      JURY TRIAL DEMANDED
ALLERGAN, INC., ET AL.                              §
                                                    §
       Defendants.                                  §


                                               ORDER

       In consideration of Plaintiff Webvention LLC’s Motion for Dismissal of all claims with

prejudice asserted against Defendant SAIC, Inc. (“SAIC”), the Motion for Dismissal is

GRANTED, and it is ORDERED, ADJUDGED AND DECREED that all claims asserted in this

suit between Webvention and SAIC is hereby dismissed with prejudice, subject to the terms of

that certain agreement entitled "SETTLEMENT AGREEMENT" dated August 8, 2011.

       It is further ORDERED that all attorneys' fees and costs are to be borne by the party that

incurred them.

       SO ORDERED.
       SIGNED this 24th day of August, 2011.



                                            __________________________________________
                                            T. JOHN WARD
                                            UNITED STATES DISTRICT JUDGE
